1    TERRY A. DAKE, LTD.
     20 E. Thomas Rd.
2    Suite 2200
     Phoenix, Arizona 85012-3133
3    Telephone: (602) 710-1005
     tdake@cox.net
4
     Terry A. Dake - 009656
5
     Attorney for Trustee
6
                          IN THE UNITED STATES BANKRUPTCY COURT
7
                               FOR THE DISTRICT OF ARIZONA
8
     In re:                              )     In Chapter 7 Proceedings
9                                        )
     MILKA PRODANOVIC;                   )     Case No. 2:19-BK-07773-EPB
10                                       )
                              Debtor.    )
11                                       )

12                             APPLICATION TO RETAIN
                              ATTORNEY FOR THE ESTATE
13
                 The trustee applies hereby to retain the firm of TERRY A.
14
     DAKE, LTD. ("TAD"), as attorney for the trustee, saying as follows:
15
                 1.   A petition for relief under Chapter 7 of the Bankruptcy
16
     Code was filed by the debtor.
17
                 2.   I am the duly appointed trustee in this matter.
18
                 3.   I wish to employ TAD as counsel to assist me in the
19
     collection and administration of this estate.
20
                 4.   I    have    selected   TAD   for   the   reason   that   TAD    has
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     experience in matters of this character and I believe that TAD is well
22
     qualified to represent me in this proceeding.
23
                 5.   The legal services which TAD shall render to me include:
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1                     A.      Giving legal advice with respect to the powers and
2    the duties of the trustee in the operation of the estate and the
3    collection and management of the property of the estate.
4                     B.      To prepare on behalf of and to assist me in the
5    preparation of necessary applications, answers, orders, reports and
6    other legal documents.
7                     C.      To perform all other legal services for me as the
8    trustee requires and as are necessary to this proceeding.
9                6.   I have determined that the services of legal counsel are
10   necessary for the proper administration of this estate.
11               7.   I desire to retain TAD to perform legal services on an
12   hourly basis.    The range of hourly rates for services to be provided by
13   TAD are as follows:
14                            Attorney   - $350.00 per hour
15
                 8.   I am informed and believe that TAD represents no interest
16
     adverse to the debtor, me or the estate in matters upon which TAD is to
17
     be employed and I believe that the employment of TAD would be in the
18
     best interests of the estate.
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                 9.    TAD’s    affidavit    and   disclosure   of   compensation      are
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     attached hereto.
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1                WHEREFORE, I pray that TAD be ordered retained as attorney for
2    the trustee in these proceedings.
3                DATED August 16, 2019.
4
                                    /s/ Robert A. MacKenzie
5                                        Trustee
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     In re:                               )        In Chapter 7 Proceedings
9                                         )
     MILKA PRODANOVIC;                    )        Case No. 2:19-BK-07773-EPB
10                                        )
                               Debtor.    )
11                                        )

12                    DECLARATION IN SUPPORT OF APPLICATION
                        TO RETAIN ATTORNEY FOR THE ESTATE
13
                 TERRY A. DAKE declares the following under penalty of perjury
14
     pursuant to 28 U.S.C. §1746:
15
                 1.   I am a shareholder of TERRY A. DAKE, LTD. ("TAD").                I am
16
     licensed and duly admitted to practice law in the State of Arizona and
17
     in the United States Bankruptcy Court for the District of Arizona.
18
                 2.   An      Application     To   Retain   Attorney   For   The   Estate
19
     requesting the Court to order the appointment of TAD as attorneys for
20
     the trustee in the above entitled bankruptcy estate has been filed in
21
     this case.
22
                 3.   TAD represents no interest adverse to the debtor, the
23
     trustee or the estate in the matters upon which TAD is to be employed by
24
     the trustee.
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1                4.    The hourly rates for the services to be rendered to the
2    trustee in this estate are as follows:
3                             Attorneys    - $350.00 per hour
4                5.    TAD will represent no interest other than that of the
5    estate in the administration of this bankruptcy proceeding.
6                6.   I declare under penalty of perjury that the foregoing is
7    true and correct.
8
                 Dated August 16, 2019.
9
                                          TERRY A. DAKE, LTD.
10

11                                        By /s/ TD009656
                                             Terry A. Dake
12                                           20 E. Thomas Rd.
                                             Suite 2200
13                                           Phoenix, Arizona 85012-3133
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9                                        )
     MILKA PRODANOVIC;                   )     Case No. 2:19-BK-07773-EPB
10                                       )
                              Debtor.    )
11                                       )

12                     UNSWORN DECLARATION UNDER PENALTY
                      OF PERJURY BY COUNSEL FOR THE TRUSTEE
13
                 I hereby certify under penalty of perjury and pursuant to Rule
14
     2016(b) of the Bankruptcy Rules of Procedure:
15
     1.    The compensation paid or promised for services rendered or to be
16
           rendered in connection with the case is as follows:
17
                 Counsel for the trustee shall seek reimbursement of fees and
18               costs from assets of the estate.      Counsel has no other
                 agreement for the payment of fees and costs from any other
19               person or entity.

20   2.    That the source of such compensation is as follows:

21               The estate.

22   3.    That Affiant has not shared nor agreed to share such compensation

23         with anyone.

24               Dated August 16, 2019.

25                                      TERRY A. DAKE, LTD.

26                                      By /s/ TD009656
                                          Terry A. Dake
27                                        Attorney for the Trustee

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